                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.

                      Plaintiffs,
                                                  Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                      Defendant.


           BRIEF IN SUPPORT OF JOINT MOTION FOR ENTRY OF
       A STIPULATED PROTECTIVE ORDER AND RULE 502(d) ORDER

      Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Rule 502(d) of the

Federal Rules of Evidence and Local Rules 7.3 and 26.2, Plaintiffs Food Lion, LLC and

Maryland and Virginia Milk Producers Cooperative Association, Inc. (collectively

“Plaintiffs”) and Defendant Dairy Farmers of America, Inc. (“DFA”), submit this brief in

support of their motion for entry of a Protective Order and a Rule 502(d) Order

concerning procedures for the filing of documents under seal.

      1.     This action relates to alleged violations of the Clayton Act and Sherman

Act and a request for injunctive relief. ECF No. 1.

      2.     On June 10, 2020, the Court granted Plaintiffs’ motion for expedited

discovery in part. ECF No. 28. On July 2, 2020, the Courted entered a Stipulated

Discovery and Briefing Schedule Order, with an expedited schedule resulting in a trial on

the merits under Rule 65(a)(2). ECF No. 40. On July 24, 2020, the Court denied DFA’s




      Case 1:20-cv-00442-CCE-JLW Document 49 Filed 08/26/20 Page 1 of 6
motion to dismiss. ECF No. 44. Since then, the parties have exchanged discovery

requests , began producing documents, and conducted multiple discovery conferences.

       3.     The parties anticipate that discovery in this matter will involve productions

of documents and information that will include confidential, proprietary or private

information. In accordance with Federal Rule 26(f), the parties have discussed these

issues and determined that a protective order would be appropriate. In the stipulated

Protective Order and the Rule 502(d) Order, the parties agreed to include provisions

under Rule 502(d) of the Federal Rules of Evidence governing the protection of

confidential, privileged, or otherwise protected material.

       4.     The parties agree the stipulated Protective Order and Rule 502(d) Order

will promote efficiency in the exchange of information and documents and protect

against harm that would result from unauthorized disclosure. As a result, good cause

exists for their entry. The parties therefore request that the Court grant their motion, and

enter the proposed stipulated Protective Order and Rule 502(d) Order attached as Exhibit

A and Exhibit B to the Joint Motion.

       Respectfully submitted this 26th day of August 2020.




                                            -2-


      Case 1:20-cv-00442-CCE-JLW Document 49 Filed 08/26/20 Page 2 of 6
HUNTON ANDREWS KURTH LLP                   WOMBLE BOND DICKINSON
                                           (US) LLP
  /s/ Ryan G. Rich
A. Todd Brown, Sr.                          /s/ Brent F. Powell
N.C. State Bar No. 13806                   James P. Cooney III
Ryan G. Rich                               N.C. State Bar No. 12140
N.C. State Bar No. 37015                   Sarah Motley Stone
Bank of America Plaza, Suite 3500          N.C. State Bar No. 34117
101 South Tryon Street                     One Wells Fargo Center, Suite 3500
Charlotte, North Carolina 28280            301 South College Street
Telephone: (704) 378-4700                  Charlotte, North Carolina 28202
tbrown@huntonak.com                        Phone: 704-331-4900
rrich@huntonak.com                         Fax: 704-331-4955
                                           Jim.Cooney@wbd-us.com
Ryan P. Phair*                             Sarah.Stone@wbd-us.com
John S. Martin*
Kevin Hahm*                                Brent F. Powell
Carter C. Simpson*                         N.C. State Bar No. 41938
2200 Pennsylvania Avenue, NW               One West Fourth Street
Washington, DC 20037                       Winston-Salem, North Carolina
Telephone: (202) 955-1500                  27101
rphair@huntonak.com                        Phone: 336-721-3600
martinj@huntonak.com                       Fax: 336-721-3660
khahm@huntonak.com                         Brent.Powell@wbd-us.com
csimpson@huntonak.com
                                           BAKER & MILLER PLLC
Attorneys for Food Lion, LLC
* Admitted Pro Hac Vice                    W. Todd Miller*
                                           Amber McDonald*
TROUTMAN PEPPER HAMILTON                   2401 Pennsylvania Avenue N.W.
SANDERS LLP                                Suite 300
                                           Washington, D.C. 20037
  /s/ Jason D. Evans                       Phone: 202-663-7820
Jason D. Evans                             Fax: 202-663-7849
N.C. State Bar No. 27808                   TMiller@bakerandmiller.com
301 S. College Street, 34th Floor          AMcDonald@bakerandmiller.com
Charlotte, NC 28202
Telephone: (704) 916-1502
jason.evans@troutman.com




                                    -3-


     Case 1:20-cv-00442-CCE-JLW Document 49 Filed 08/26/20 Page 3 of 6
James A. Lamberth*                           LATHAM & WATKINS LLP
600 Peachtree Street, NE, Suite 3000
Atlanta, GA 30308                            Michael G. Egge*
(404) 885-3362                               555 Eleventh Street, NW
james.lamberth@troutman.com                  Washington, DC 20004
                                             Michael.Egge@lw.com
Attorneys for Maryland and Virginia Milk
Producers Cooperative Association, Inc.      Attorneys for
* Admitted Pro Hac Vice                      Dairy Farmers of America, Inc.
                                             * Admitted Pro Hac Vice




                                       -4-


    Case 1:20-cv-00442-CCE-JLW Document 49 Filed 08/26/20 Page 4 of 6
                          CERTIFICATE OF WORD COUNT

       I hereby certify that the foregoing brief complies with the word count limitations

set forth in Local Rule 7.3.

       August 26, 2020

                                          /s/      Ryan G. Rich
                                                Ryan G. Rich




                                           -5-


      Case 1:20-cv-00442-CCE-JLW Document 49 Filed 08/26/20 Page 5 of 6
                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was electronically filed with the Clerk of Court

using the CM/ECF system, which will send notification of such filing to the users

registered on the CM/ECF system.

      August 26, 2020

                                         /s/      Ryan G. Rich
                                               Ryan G. Rich




                                           -6-


      Case 1:20-cv-00442-CCE-JLW Document 49 Filed 08/26/20 Page 6 of 6
